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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

 IN THE MATTER OF THE APPLICATION OF
 GALINA WEBER,

               Petitioner,

 vs.                                                    Case No. 3:07-mc-27-J-32MCR

 FOR DISCOVERY FROM LAZAR S. FINKER,
 an individual, RAISSA M. FRENKEL, an
 individual, STEVEN CHARLES KOEGLER, an
 individual, WILLIAM E. CHATTIN, an
 individual, THEODOROS J. KAVALIEROS, an
 individual, AFRODITI KAVALIEROS, an
 individual, and IGOR V. MAKAROV, an
 individual,

            Respondents.
 _____________________________________/

                                           ORDER

        THIS CAUSE is before the Court on Petitioner’s Motion to Compel Discovery

 (Doc. 2) filed May 21, 2007. Respondents filed a response in opposition on June 12,

 2007.1 (Doc. 12). On June 22, 2007, Petitioner filed a Reply (Doc. 17). Prior to ruling

 on the instant Motion to Compel, the Court first needed to determine whether to permit

 Plaintiff to obtain the requested discovery and grant Plaintiff’s Petition for Discovery in

 Aid of Foreign Proceedings pursuant to 28 U.S.C. §1742(a). (Doc. 1). On October 11,

 2007, the undersigned entered a Report and Recommendation to the District Judge

 recommending the Petition be granted. (Doc. 38). On November 30, 2007, Judge



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           Actually, Respondents filed their original response on June 11, 2007 (Doc. 11) and then
 filed a Corrected and Amended Opposition to Motion to Compel (Doc. 12) on June 12, 2007.

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 Corrigan adopted the Report and Recommendation (Doc. 43). The Court then directed

 the parties to file supplemental briefs regarding their positions on the Motion to Compel

 (Doc. 44). The parties did so (see Docs. 45 and 46) and accordingly, the Motion to

 Compel was ripe for judicial review. However, on December 31, 2007, Respondents

 filed a Notice of Appeal (Doc. 47). Thereafter, the undersigned asked the parties to file

 memoranda regarding their positions on whether the Court should stay its decision on

 the pending Motion to Compel. (Doc. 48). The parties pointed out that the Eleventh

 Circuit directed them to file briefs on the issue of whether the Order permitting discovery

 pursuant to 28 U.S.C. §1742(a) is a final appealable order. Accordingly, the

 undersigned elected to wait for the Eleventh Circuit to rule on that issue. On April 8,

 2008, the Eleventh Circuit determined the Order permitting discovery pursuant to 28

 U.S.C. §1742(a) was not a final appealable order and dismissed Respondents’ appeal.

 As such, the undersigned will now proceed to rule on the pending Motion to Compel.

                                    I. BACKGROUND

        As noted above, on April 27, 2007, Petitioner filed a Petition for Discovery in Aid

 of Foreign Proceedings pursuant to 28 U.S.C. §1742(a). (Doc. 1). Petitioner, Galina

 Weber, is a citizen of Switzerland and a resident of Monaco. She is a shareholder of

 Itera Group, Ltd., a Cypriot corporation. Itera Group is a large company with many

 subsidiaries throughout the world. The Respondents2 are also shareholders of Itera

 Group and all reside in Jacksonville, Florida. Petitioner seeks discovery to assist her in




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          During the October 3, 2007 hearing, counsel for Petitioner agreed to dismiss Igor
 Makarov, the CEO of Itera Group, without prejudice from the Petition.

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 two pending cases in foreign countries: a civil case in Cyprus and a criminal case

 against her in Switzerland.

 A. The Cyprus case:

       This civil lawsuit was filed by Petitioner against Itera Group, Igor Makarov

 (“Makarov”) and Sweet Water Intervest Corporation (a British Virgin Islands corporation

 that Petitioner claims is associated with Makarov). The case claims that Makarov

 offered to buy 12% of Petitioner’s 14.5% interest in Itera Group but failed to complete

 the transaction believing he could get her to sell the shares for less money. (Doc. 37,

 pp. 5-6). When Petitioner refused the subsequent offers, Itera Group’s Board of

 Directors voted to increase the number of authorized shares in Itera Group by six million

 shares, thereby diluting Petitioner’s entire ownership interest from 14.5% to 4.86%.

 (Doc. 37, p.7). Petitioner claims that the other shareholders were able to acquire

 additional shares because they received money from Itera Group or an affiliated

 company that Petitioner did not. (Doc. 37, p.7; Ex. A, p.3)

 B. The Swiss case:

       In the Fall of 2006, criminal charges were filed against Petitioner in Switzerland

 for allegedly embezzling Itera Group assets. The criminal charges were filed by Gas

 Itera, an Itera Group subsidiary, which claimed Petitioner, her husband and brother-in-

 law improperly obtained real property belonging to Itera Group by offsetting the

 purchase price against a nonexistent debt Itera Group allegedly owed Petitioner. (Doc.

 10, pp. 6-7). Petitioner’s defense is that Itera Group owed her $4.8 million in unpaid

 dividends. Under Swiss law, offsetting a debt in such a situation is a complete defense

 to embezzlement.

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       Specifically, Petitioner claims that in January 2005, the Itera Group Board of

 Directors approved payment of dividends to its shareholders in the amount of $80

 million to be dispersed in two tranches of $40 million each. (Doc. 37, p.5). In March

 2005, the first payment (or tranche) was made and all shareholders, including

 Petitioner, received a proportionate share of the dividend based on his/her ownership

 interest. Id. The distribution of the second tranche did not go as smoothly. According

 to Petitioner, the Itera Group Board of Directors approved the distribution of the second

 tranche at the May 28, 2005 meeting. (Doc. 37, p.6). However, Petitioner did not

 receive her full portion of the second tranche. She received an amount equal to 2.5%

 ownership in Itera Group rather than the 14.5% ownership she claims she had. Id. The

 unpaid 12% would have been equal to $4.8 million. (Doc. 37, p.7). Petitioner claims

 the Florida Shareholders (the Respondents), on the other hand, received the full

 amount of their second tranche. She claims they devised a scheme to avoid taxes on

 the second tranche whereby Itera Group paid these shareholders their share of the

 second tranche through a shell company in the form of a loan, rather than as a dividend,

 which would be taxable. (Doc. 37, p.6).

       On April 30, 2007, Petitioner served the Respondents with her discovery

 requests. Petitioner seeks numerous documents which she claims will assist her in

 both the Switzerland criminal case and the Cypress civil action. Respondents object to

 the discovery on numerous grounds.




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                                        II. ANALYSIS

        Motions to compel discovery under Rule 37(a) are committed to the sound

 discretion of the trial court. See Commercial Union Ins. Co. v. Westrope, 730 F.2d 729,

 731 (11th Cir. 1984). The trial court's exercise of discretion regarding discovery orders

 will be sustained absent a finding of abuse of that discretion to the prejudice of a party.

 See Westrope, 730 F.2d at 731.

        The overall purpose of discovery under the Federal Rules is to require the

 disclosure of all relevant information so that the ultimate resolution of disputed issues in

 any civil action may be based on a full and accurate understanding of the true facts, and

 therefore embody a fair and just result. See United States v. Proctor & Gamble Co.,

 356 U.S. 677, 682, 78 S.Ct. 983 (1958). Discovery is intended to operate with minimal

 judicial supervision unless a dispute arises and one of the parties files a motion

 requiring judicial intervention. Furthermore, “[d]iscovery in this district should be

 practiced with a spirit of cooperation and civility.” Middle District Discovery (2001) at 1.

        In the instant motion, Petitioner served Respondents with eight individual

 discovery requests seeking various documents which she believes will assist her in both

 the Swiss and Cypriot actions. Respondents object that the requests and the definitions

 accompanying the requests are complicated, “over detailed,” ambiguous, overbroad and

 burdensome. (Doc. 45, p.9). The Court will examine each of the requests.




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 A.     Request No. 1

        This request seeks documents relating to any payment and/or financial transfers

 made to any of the Respondents by any other Respondent or Itera Group from January

 1, 2003 to the present. (Doc. 2, p.3). Respondents object to this request on the

 grounds that it is overly broad, vague, ambiguous, burdensome and oppressive. (Doc.

 45, Ex. B, p.7). Specifically, Respondents take the position that the request is so vague

 that complying with it would be “impossibly burdensome and oppressive.” Id.

 Additionally, Respondents point out that four of them are married to each other and

 requiring them to disclose information regarding payments or financial transactions

 between each other would be unduly intrusive and would not lead to admissible

 evidence. Id. Respondents also argue that because they have been employed by one

 or more Itera Group subsidiaries, they all have so many financial transactions with Itera

 Group (including wages, bonuses, expense reimbursements and employee benefits),

 responding to this request would be burdensome. Id. Finally, Respondents argue that

 the time period, January 1, 2003 to the present is too broad because the relevant time

 period for the Swiss action is May 2005 to March 2006 and for the Cypriot action is

 February 2006 to March 2006. (Doc. 45, p.6).

        Petitioner responds that with respect to the Swiss action, this request only seeks

 documents “related to Respondents’ receipt of any funds which may have constituted a

 portion of the Dividend.” (Doc. 46, p.7). With respect to the Cypriot action, Petitioner

 claims that this request seeks evidence showing that “Respondents ‘borrowed’ funds




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 from Itera Group or from Igor Makarov or some other third party and then immediately

 transferred the new shares back to Igor Makarov.” Id.

        Insofar as this request applies to the Swiss action, the Court believes it may lead

 to the discovery of admissible evidence. However, the request as drafted is overly

 broad. First, Petitioner herself claims that Respondents received the second tranche

 either from Itera Group or in the form of a loan from a third party. There has never been

 any allegation that one of the Respondents made a payment to another of the

 Respondents, with the possible exception of Mr. Makarov.3 Accordingly, the Court

 believes the request seeks irrelevant information insofar as it seeks documents

 regarding payments and financial transfers made to a Respondent from any other

 Respondent. Additionally, as Respondents point out, because many of them have at

 one time been employed by a subsidiary of Itera Group, providing all documents

 regarding any payment from January 1, 2003 to the present from Itera Group is overly

 broad. Petitioner claims she needs documents going back to January 1, 2003 to the

 present in order to “provide context to each irregular transaction” and “provide concrete

 evidence that the treatment of Petitioner has been different than the preferential

 treatment afforded to other shareholders (i.e. the Respondents).” (Doc. 46, pp. 9-10).

        The Court believes requiring the Respondents to provide five years’ worth of

 documents from Itera Group would be overly burdensome and would result in the

 production of much irrelevant information. Clearly, Petitioner seeks information



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          Now that Mr. Makarov is no longer a Respondent, the request as currently phrased would
 not cover him.

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 regarding whether a second tranche payment was made to any of the Respondents.

 This payment was to have occurred in June 2005. The Court believes Petitioner may

 gain sufficient context by obtaining documents one year prior to the alleged tranche

 payment and one year after. Accordingly, the Court believes a reasonable time period

 for documents relating to payments, financial transfers, or other benefits conferred upon

 the Respondents from Itera Group or Mr. Makarov would be from June 1, 2004 to June

 30, 2006.

        With respect to the Cypriot action, Petitioner claims she needs the requested

 documents to show that “Respondents ‘borrowed’ funds from Itera Group or from Igor

 Makarov or some other third party and then immediately transferred the new shares

 back to Igor Makarov.” (Doc. 46, p.7). Again, this request is overly broad insofar as it

 seeks documents relating to payments from one Respondent to another Respondent.

 Additionally, the Court has a similar concern with respect to the time limit of five years.

 According to the Complaint in the Cypriot case, the actions at issue occurred between

 May 2005 and February 2006. (Doc. 37, Ex. A). The Court again believes Plaintiff may

 obtain sufficient context by obtaining documents from the year before and the year after

 the relevant time period. Therefore, for use in the Cypriot case, the relevant time period

 should be from May 1, 2004 to February 28, 2007. Accordingly, in response to Request

 No. 1, Respondents shall produce documents relating to payments, financial transfers,

 or other benefits conferred upon the Respondents from Itera Group or Mr. Makarov from

 May 1, 2004 to February 28, 2007.




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 B.    Request No. 2

       This request seeks documents relating to any communication between any of the

 Respondents and/or Itera Group relating to payments made to any Respondent from

 January 1, 2003 to the present. This request is very similar to Request No. 1 and

 indeed, during the hearing before the undersigned, counsel for Petitioner indicated that

 this request was simply a safety net for an attorney that wanted to read loopholes into

 Request No. 1. Respondents’ objections are the same as with respect to Request No. 1

 except that Respondents argue some communications may be protected by the spousal

 privilege or the attorney-client privilege. As Petitioner notes, Respondents have failed

 to provide any support for the conclusory statement that responding to this request

 would lead to the production of privileged material. The party asserting a privilege has

 the burden to show that the privilege applies and that burden “can be met only by an

 evidentiary showing based on competent evidence, and cannot be ‘discharged by mere

 conclusory or ipse dixit assertions.’” CSX Transp. Inc. V. Admiral Ins. Co., 1995 WL

 855421 *1 (M.D. Fla. 1995) (quoting Bowne of New York City, Inc. v. AmBase Corp.,

 150 F.R.D. 465, 470 (S.D.N.Y. 1993)). Here, Respondents do not even refer to any

 specific documents they claim as being covered by either the spousal or attorney-client

 privilege. Instead, Respondents claim that there may be such documents. This is not

 sufficient and the Court will not prohibit discovery on such an unsubstantiated and

 speculative argument.

       While the Court determined that with respect to Request No. 1, documents

 regarding payments and financial transfers between the Respondents was not relevant,


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  the Court believes there may be relevant information regarding communications

  between the Respondents about payments and financial transfers to any of the

  Respondents from Itera Group or Makarov. Accordingly, the Court holds that

  Respondents shall produce documents relating to any communications between any of

  the Respondents and/or Itera Group and/or Makarov regarding payments, financial

  transfers, or other benefits conferred upon the Respondents from Itera Group or Mr.

  Makarov from May 1, 2004 to February 28, 2007.

  C.    Request No. 3

        This request seeks documents relating to communications between any of the

  Respondents and Petitioner regarding payments, transfers of funds or other benefits

  conferred upon any of the Respondents from January 1, 2003 to the present. Besides

  their objections that the request is overly broad, vague, ambiguous, burdensome and

  oppressive, Respondents object to the definition of “Petitioner” contained within the

  Request for Production. With regard to Respondents’ objections regarding the breadth

  of this request, the Court agrees the time period is too broad. Because the Court

  believes this request seeks documents that could lead to admissible evidence in either

  the Swiss or Cypriot case, the Court will permit Petitioner to obtain responsive

  documents from May 1, 2004 to February 28, 2007.

        As to Respondents’ burdensome/oppressive objection, the Court is not

  convinced responding to this request (with the new date parameters) will be overly

  burdensome. As Petitioner correctly points out, Respondents as the parties resisting

  discovery, bear the burden of establishing that responding to a discovery request will be



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  unduly burdensome. Border Collie Rescue, Inc. v. Ryan, 2005 WL 662724 *2 (M.D. Fla.

  2005) (quoting Coker v. Duke & Co., 177 F.R.D. 682, 686 (M.D. Ala. 1998)). That

  burden cannot be met by a party simply claiming a response would be oppressive or

  expensive. Instead, the party claiming undue burden “‘must substantiate that position

  with detailed affidavits or other evidence[.]’” Id. (quoting, Coker, 177 F.R.D. at 686 and

  citing Hammond v. Lowes Home Ctrs., Inc., 216 F.R.D. 666, 672 (D. Kan. 2003) (“The

  objecting party must show specifically how, despite the broad and liberal construction

  afforded the federal discovery rules, [the] question is overly broad, burdensome, or

  oppressive by submitting affidavits or offering evidence revealing the nature of the

  burden.”)). In the instant case, Respondents have provided no evidentiary support for

  their claim that responding to this request would be overly burdensome and their

  conclusory statements are insufficient to persuade the Court to limit the request any

  more than it already has.

         Finally, the Court will turn to Petitioners’ objection regarding the definition of

  “Petitioner.” In the Request for Production of Documents, “Petitioner” is defined as

  Petitioner as well as “all persons, principals, employees, managers officers or directors

  of corporations, partnerships or other associations acting as agents for or on behalf of

  the Petitioner and all agents, servants and employees.” (Doc. 37, Ex. F, p.7).

  Respondents complain that they do not know who Petitioner’s agents, servants or

  employees are. (Doc. 45, Ex. B). In response, Petitioner calls this argument a “red

  herring” because “[i]t is not credible that Respondents would not be able to discern

  among their personal documents which communications were sent to or received from



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  Petitioner, her agents, servants, or employee which also relate to funds which passed

  through Respondents’ own hands.” (Doc. 46, p.8). The Court notes that Petitioner has

  not shed any light on who or what may be her agents, servants or employees.

  Accordingly, to the extent the Respondents can tell whether a communication regarding

  payments, transfers of funds or other benefits conferred upon any of the Respondents

  from May 1, 2004 to February 28, 2007 is sent to or from Petitioner or one of

  Petitioner’s agents, servants or employees, Respondents are directed to produce such.

  D.    Request No. 4

        This request seeks every document relating to “the Dividend.” “The Dividend” is

  defined as “the $80 million dividend approved by the Itera Group Board of Directors, as

  alleged in the Petition, regardless of the manner in which the dividend was distributed

  and/or whether the entire approved dividend was ever fully distributed.” (Doc. 37, Ex. F,

  p.10). Respondents object to this request as being overly broad, burdensome and

  oppressive. Specifically, Respondents point out that the Swiss case only deals with

  payment of the second tranche, whereas the definition of “Dividend” clearly covers both

  the first and second tranche. Petitioner responds that because she “cannot rule out that

  the Second Tranche may have been distributed to Respondents in conjunction with

  payment of the First Tranche,” this request is reasonable. (Doc. 46, p.8). The Court

  need not address this argument because Respondents have already been directed to

  produce any documents regarding financial payments/transfers from either Itera Group

  or Makarov from May 1, 2004 to February 28, 2007. Obviously, this would cover the




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  alleged second tranche regardless of whether it occurred at the same time as the first

  tranche.

         Respondents also object to this request on the grounds that it may include their

  tax returns, “which contain far more information than related to the ‘Dividend.’” (Doc. 45,

  Ex. B, p.7). The Court addresses the discoverability of Respondents’ tax returns in

  section H below and therefore, will not address it here.

  E.     Request No. 5

         This request seeks documents relating to loans made by or between any of the

  Respondents, Itera Group, SUCO and/or any third party from January 1, 2003 to the

  present. Respondents again object that this request is overly broad, burdensome and

  oppressive. Specifically, Respondents take issue with the time period and point out that

  the second tranche was purportedly paid in May 2005 and the alleged authorization of

  additional shares at issue in the Cypriot case occurred in February 2006. Additionally,

  Respondents argue this request is so broad that it would cover documents related to

  their personal consumer transactions. Petitioner responds by agreeing to tailor this

  request to “exclude any consumer transactions Respondents may have conducted with

  parties totally unrelated to Sweet Water Intervest, Itera Group, SUCO, Igor Makarov,

  any of the Respondents, or Petitioner.” (Doc. 46, p.9).

         The Court agrees that this request is overly broad. Because this request seeks

  documents which may be relevant in both the Swiss and Cypriot cases, the Court

  believes the relevant time period to again be from May 1, 2004 to February 28, 2007.

  Additionally, the Court believes Petitioner’s suggested restrictions are reasonable.



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  Accordingly, the Court directs Respondents to produce all documents relating to loans

  made to any of the Respondents by Makarov, Itera Group, SUCO, Sweet Water

  Intervest and/or Petitioner from May 1, 2004 to February 28, 2007.

  F.     Request No. 6

         This request seeks documents relating to the sale, purchase, and/or transfer of

  Itera Group shares by any of the Respondents, Itera Group, SUCO and/or any other

  third party from January 1, 2003 to the present. Respondents again object on the

  grounds that this request is overly broad, burdensome and oppressive. Respondents

  point out that this request only seeks information relevant to the Cypriot case and

  therefore, the time frame is entirely too broad as the dilution of Petitioner’s interest

  occurred in February 2006. (Doc. 45, Ex. B, pp. 9-10). Additionally, Respondents note

  that Itera Group Ltd. L.L.C. was not incorporated until August 2004. (Doc. 45, Ex. B, p.

  9). Finally, Respondents argue that:

                [t]he “sale, purchase, and/or transfer of Itera Group shares
                ...” for the original incorporators (including petitioner,
                respondents and others) is equally available to Ms. Weber
                particularly since her husband, Urs Weber, was the legal and
                financial architect and advisor to the creation of Itera Group
                and legal and financial advisor to Itera Group until he was
                discharged in July 2006.

  Id.

         Petitioner responds that although Itera Group Ltd. was not incorporated until

  2004, the Itera Group family of companies has been in existence for many years and

  that Petitioner has been a shareholder of Itera Group or its predecessor corporation,




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  Itera Group, NV, since 1995. (Doc. 46, p.9). Additionally, Petitioner argues she needs

  the documents going back to January 1, 2003 in order to:

                (1) demonstrate the amounts and manner in which previous
                dividends were paid; (2) uncover how and in what pattern
                the amounts of the Dividend or other consideration was
                disbursed to Respondents; (3) prove the manner in which
                the capital increase was funded; and (4) demonstrate why
                the individual shareholders reneged on their offer to
                purchase Petitioner’s shares in light of the pressure exerted
                and benefits offered by Itera Group or Igor Makarov.

  Id. Like in the previous requests, Petitioner also argues that allowing her to obtain

  documents from the requested time period will provide “context to each irregular

  transaction and will provide concrete evidence that the treatment of Petitioner has been

  different than the preferential treatment afforded to other shareholders.” Id.

         While in her brief Petitioner takes the position that this request seeks documents

  regarding the payment of dividends and is therefore relevant to both the Swiss and

  Cypriot cases, the Court agrees with Respondents that this request does not seek

  information relevant to the Swiss action. Indeed, at the hearing, counsel for Petitioner

  stated that every request except Request 6 sought information regarding the second

  tranche. (Transcript of October 3 hearing, 22:22-24, 23:2-5). Accordingly, the Court

  believes the relevant time period (sufficient to provide Petitioner with some “context”)

  would be from May 1, 2004 to February 28, 2007.

         As for Respondent’s argument that Itera Group Ltd. was not formed until August

  2004, the Court believes this claim has some merit. Petitioner responds that she owned

  stock in the predecessor corporation, Itera Group NV, however, the Cypriot case deals

  with Petitioner’s claim that her stock in Itera Group Ltd. was improperly diluted.


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  Accordingly, the Court will not require Respondents to produce any documents

  regarding the sale, purchase, and/or transfer of shares other than those of Itera Group

  Ltd.

         Finally, the Court is not persuaded by Respondents’ argument that Petitioner has

  access to this information through her husband. Perhaps this argument would have

  more merit had Respondents made a showing that responding to this request would be

  overly burdensome. However, Respondents have failed to do so and the Court will

  require them to produce documents regarding the sale, purchase, and/or transfer of

  shares of Itera Group Ltd. by any of the Respondents, Itera Group, SUCO and/or any

  other third party from August 1, 2004 to February 28, 2007.

  G.     Request No. 7

         This request asks Respondents to produce documents relating to any

  agreement, negotiation, or offer to purchase, redeem, trade, transfer, or sell any of

  Petitioner’s shares in Itera Group from January 1, 2003 to the present. Respondents

  asserted the same objections as for Request No. 6. Accordingly, for the same reasons

  as Request No. 6, the Court directs Respondents to produce documents relating to any

  agreement, negotiation, or offer to purchase, redeem, trade, transfer, or sell any of

  Petitioner’s shares in Itera Group Ltd. from August 1, 2004 to February 28, 2007.

  H.     Request No. 8

         This request seeks documents relating to Respondents’ IRS reporting

  requirements, including returns, worksheets, schedules and other IRS forms, from

  January 1 2004 to the present. Respondents object to this request as being “overly



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  broad, unduly vague, ambiguous, burdensome, oppressive and unduly intrusive into the

  personal, financial and business affairs” of the Respondents. (Doc. 45, Ex. B, p. 10).

         The Court will first address Respondents’ objection that this request is unduly

  intrusive. While it appears courts are split as to whether tax returns are entitled to

  enhanced protection from discovery, this Court has noted that the Eleventh Circuit has

  not recognized any special privilege for tax returns and therefore, “the discoverability of

  tax returns has turned on relevance.” Shearson Lehman Hutton, Inc. v. Lambros, 135

  F.R.D. 195, 198 (M.D. Fla. 1990) (permitting the discovery of defendants’ tax returns as

  they “may lead to admissible evidence concerning the merits of plaintiff’s claims,”

  however, limiting use of returns by plaintiff solely in connection with the case and

  disallowing any dissemination to third parties).

         In the instant case, the Court believes the tax returns may produce relevant

  evidence particularly with respect to the Swiss action (as both parties agree that

  payment of a dividend is a reportable occurrence). As the second tranche was

  allegedly paid in 2005, the Court believes the 2005 tax returns may contain relevant

  information. The Court understands Respondents’ concern in turning over private

  financial materials, however, Respondents have not shown that the production of this

  relevant information would be harmful. Gober v. City of Leesburg, 197 F.R.D. 519, 521

  (M.D. Fla. 2000) (holding that the party resisting discovery has the burden to show that

  the information sought is confidential and that disclosure would be harmful) (citing,

  Kaiser Aluminum & Chemical Corp. v. Phosphate Engineering and Const. Co., Inc., 153

  F.R.D. 686, 688 (M.D. Fla. 1994)). Counsel for Petitioner has agreed to receive this



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  information on an “attorneys eyes only” basis and the Court believes this to be prudent.

  Accordingly, the Court will direct Respondents to produce their tax returns for 2005.

  Counsel for Petitioner is advised to ensure that only the attorneys representing

  Petitioner in the instant matter have access to the tax returns until such time as it is

  established they contain relevant information to be utilized in one of the foreign actions.

         As for Petitioner’s request for the tax returns for 2004 and 2006, the Court is not

  certain they will produce relevant information. The Court is allowing discovery of the

  2005 returns because Petitioner has pointed to a reportable event (the payment of the

  second tranche). However, Petitioner has not pointed to any other reportable events

  and as such, the Court is inclined to limit discovery to the 2005 tax returns.

         Accordingly, and after due consideration, it is

         ORDERED:

         Petitioner’s Motion to Compel Discovery (Doc. 2) is GRANTED in part and

  DENIED in part as set forth in the body of this Order. Respondents are directed to

  produce the information noted in this Order no later than Thursday, May 1, 2008.



         DONE AND ENTERED in Chambers in Jacksonville, Florida this 15th day of

  April, 2008.




                                                            MONTE C. RICHARDSON
                                                     UNITED STATES MAGISTRATE JUDGE



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  Copies to:

  Counsel of Record




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